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               IN THE UNITED STATES DISTRICT COURT FOR
                  THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


UNITED STATES OF AMERICA                    )
                                            )                     No. 02cr719-16
              v.                            )
                                            )                     Judge Thomas M. Durkin
STEVE LISCANO                               )


        DEFENDANT STEVE LISCANO’S REPLY IN SUPPORT OF HIS
              MOTION FOR COMPASSIONATE RELEASE

       Steve Liscano looks proudly at the collection of hammers, knives, sharpened

scissors, and tools in his possession at Pekin Federal Prison. Some might see his cache as a

treasure trove of dangerous contraband. Mr. Liscano sees a future beyond his permanent

banishment. There are approximately 950 inmates at Pekin prison. Only six of the prison’s

most trusted inmates were selected for an electrical apprenticeship. Steve is the only life-

sentenced prisoner who BOP guards selected for the apprenticeship program.




                                             Steve Liscano (pictured) repairing security lighting at Pekin Prison




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           It has been 16 years since the government procured a congressionally unauthorized

    life sentence against Mr. Liscano. Many of us would become bitter or stagnant under

    similar circumstances. Mr. Liscano has not wasted his life, however. As his supervising

    prison guard reports, Mr. Liscano is “a positive example to other inmates” and he

    “maintains a tool chit, which is a big trust among staff.” 1

           Mr. Liscano’s unlawful life sentence and his unique personal circumstances, when

    combined with the government’s laundry list of conceded errors, constitute extraordinary

    and compelling reasons to warrant a sentence reduction. Furthermore, Mr. Liscano’s

    remarkable rehabilitation, the unwarranted disparity of his life sentence and the ongoing

    pandemic are § 3553(a) factors weighing in favor of his release. For the reasons that

    follow, STEVE LISCANO, by undersigned counsel MIANGEL C. CODY, respectfully

    submits this Reply in further support of his Motion for Compassionate Release.

                                              I.       DISCUSSION

          A.      Mr. Liscano’s legislatively unauthorized life sentence – when combined
                  with additional unique facts in this case – create extraordinary and
                  compelling reasons for his compassionate release.


                  “[A]s the defendant correctly notes, neither of the prior convictions relied upon by the
                  sentencing court to support defendant’s life sentence qualify as § 841(b) predicates under the
                  Supreme Court’s decision in Mathis v. United States, - ---U.S.---, 136 S. Ct. 2243
                  (2016).”
                                                                                          – Gov’t Resp. at 10.
          A good place to start is where the parties agree. The government does not dispute

that it sought and secured a life sentence against Mr. Liscano that was “erroneously

imposed.” Gov’t Resp. at 10. The government does not dispute that, just two weeks before


1     See Exhibit A BOP Work Performance Evaluation for Inmate Steve Liscano, dated
March 2021.
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trial, it filed an 851 Enhancement against Mr. Liscano because he refused to surrender his

trial rights. Gov’t Resp. at 12. The government does not dispute that the 851 Enhancement

it filed against Mr. Liscano “did not expressly state that the government would seek a

mandatory life sentence.” Gov’t Resp. at 11. Notwithstanding this catalog of errors, the

government maintains Mr. Liscano should die in prison because, somehow, he has not

established extraordinary and compelling reasons for a sentence reduction.

       The government’s opposition rests upon a misinterpretation of the Seventh Circuit’s

recent decision in United States v. Thacker, No. 20-2943, 2021 WL 2979530, at *1 (7th Cir.

July 15, 2021). The Thacker appellant sought compassionate release to reduce his 33-year

sentence, which included pre-First Step Act stacked gun penalties. The district court denied

Thacker’s sentence reduction, concluding a § 924(c) sentence that was “lawfully imposed”

(before the First Step Act’s anti-stacking amendment) but later legislatively reduced is not an

“extraordinary and compelling reason” for compassionate release. The Seventh Circuit

affirmed and held: “Given Congress’s express decision to make the First Step Act’s change

to § 924(c) apply only prospectively, we hold that the [§ 924(c)] amendment, whether

considered alone or in connection with other facts and circumstances, cannot constitute an

‘extraordinary and compelling’ reason to authorize a sentencing reduction.” Id.

       The Seventh Circuit’s reasoning in Thacker is threefold. First, the Seventh Circuit

limited its Thacker holding to mandatory minimum sentences that were “lawfully imposed”

prior to the First Step Act. Id. at *4. Second , the appellate court concluded Thacker’s

motion offended Congress’s intent that the First Step Act’s anti-stacking provisions apply
only prospectively, reasoning: “Thacker’s motion, at least in part, [w]as an attempted end-

run around Congress’s decision in the First Step Act to give only prospective effect to its

amendment of § 924(c)’s sentencing scheme.” Id. at *3. Third , the Seventh Circuit reasoned

that a non-retroactive change in law may be considered when applying the § 3553(a) factors

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to assess whether a compassionate release motion should be granted and the extent of

reduction warranted. Id. at *5.

               1.      An unlawfully imposed life sentence, when combined with other
                       facts, may constitute extraordinary and compelling reasons to
                       authorize a sentence reduction.

               “The government concedes that, under Mathis and Ruth, defendant’s life sentence was
               erroneously imposed [and] defendant would not have qualified for a life sentence.”

                                                                                  – Gov’t Resp. at 10

       The Seventh Circuit limited its Thacker holding to mandatory minimum sentences

that were “lawfully imposed.” Id. at *4. Here, the government readily concedes that Mr.

Liscano’s sentence was not lawfully imposed; that is, the Court exceeded its legislative

authority when it imposed a life sentence on Mr. Liscano, as did the government in seeking

that sentence by means of an 851 Enhancement.

       Here is how we got here: At the time of Mr. Liscano’s conviction and sentencing, a

federal drug offender who had “two or more prior convictions for a felony drug offense”

could be subject to a mandatory term of life imprisonment pursuant to 21 U.S.C.

§§ 841(b)(1)(A)(viii) and 851. 2 For enhancement purposes, Congress defined what

constituted a “felony drug offense” in Title 21 U.S.C § 802(44). A federal drug offender’s

prior state convictions could be predicates for a 21 U.S.C. § 851 enhancement only if those

state priors met Congress’s federal definition of a “felony drug offense” as statutorily


2      The First Step Act of 2018 changed the definition of a qualifying predicate under
§841(b)(1)(A)(viii) from a “felony drug offense” to a “serious drug felony” and reduced the
mandatory minimum from life to 25 years. Mr. Liscano’s argument, which the government does
not dispute, is that his Illinois convictions did not meet even the pre-1SA definition of a “felony
drug offense.”

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defined in Title 21 U.S.C § 802(44). 3

       Two weeks before trial, the government filed an 851 Enhancement against Mr.

Liscano and argued his prior Illinois drug convictions subjected him to the enhanced

penalties codified at 21 U.S.C. §§ 841(b)(1)(A). The government now concedes that Mr.

Liscano’s Illinois drug priors are broader than the federal definition of a “felony drug

offense” and, as the government concedes, Congress did not legislatively authorize it to use

those Illinois prior convictions as predicates for Mr. Liscano’s mandatory life sentence.

       This case is materially distinguishable from Thacker, where the Seventh Circuit

construed the prisoner’s compassionate release motion as “an attempted end-run around”

congressional intent that would “unwind and disregard Congress’s clear direction.” Id. at *3.

The Seventh Circuit correctly observed that the Thacker defendant improperly asked the

district court to use “the discretionary authority conferred by § 3582(c)(1)(A). . . to effect a

sentencing reduction at odds with Congress’s express determination.” Id.

       Here, Mr. Liscano does not invite this Court to effect a sentencing reduction at odds

with congressional intent. Quite the contrary is true. Congress never intended or authorized

the Department of Justice to seek an 851 Enhancement against Mr. Liscano in the first

place. In other words, the Justice Department admits that the Court lacked congressional

authority to subject Mr. Liscano to the enhanced penalties of 21 U.S.C. §§ 841(b)(1)(A)(viii)

where his state priors were for offenses broader than the congressional definition of a




3      Title 21 U.S.C § 802(44) defines a “felony drug offense” as “an offense that is punishable
by imprisonment for more than one year under any law of the United States or of a State or
foreign country that prohibits or restricts conduct relating to narcotic drugs, marihuana,
anabolic steroids, or depressant or stimulant substances.”
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“felony drug offense.” See Title 21 U.S.C § 802(44). Because the government interpreted its

851 Enhancement powers more broadly than the congressional definition, it is Mr.

Liscano’s legislatively unauthorized life sentence ⎼ not his compassionate release motion ⎼

that “offends principles of separation of powers” with which the Seventh Circuit was

concerned in Thacker. The government’s response fails to address this important nuance in

the Thacker holding.

       The unfairness in this case is similar to another case from our district, United States v.

Conley, No. 11 CR 0779-6, 2021 WL 825669 (N.D. Ill. Mar. 4, 2021). In Conley, the defendant

received a mandatory minimum sentence based upon a fake stashhouse ruse orchestrated by

the government. Granting compassionate release, the Court (Coleman J.) discussed at length

the “inherent unfairness and injustice of Conley's sentence” and concluded his health

conditions “in combination with the injustice of his conviction and sentence” constitute

extraordinary and compelling reasons for his compassionate release. Id. at *4.

          The government contends Mr. Liscano should continue to serve an unlawful life

sentence — that it procured in error — because his “challenges to his sentence are not

individualized” and he “relies on grounds applicable to a broad class of offenders sentenced

to enhanced penalties based on prior convictions later determined not to qualify as

predicates under § 841(b).” Gov’t Resp. at 13. Apparently, according to the government,

erroneous life sentences in this district occur with such frequency as to amount to “a

common, class-wide circumstance” that “is not, and cannot be deemed, extraordinary.”

Gov’t Resp. at 13 (internal quotations omitted). As a threshhold matter, the government’s

response states Mr. Liscano’s predicament applies to “a broad class of offenders,” but it fails

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to inform the Court precisely how many other cases exist with all of the unique facts that

Mr. Liscano’s case presents: (a) a legislatively unauthorized life sentence; (b) an 851 Notice

that failed to disclose the defendant faced a mandatory life sentence; and (c) the

government’s express admission on the record at sentencing that it filed the defective 851

Notice just weeks before trial in retaliation for a defendant’s exercise of trial rights.

       Furthermore, Mr. Liscano’s reasons for a sentence reduction need not be rare in

order to be extraordinary and compelling. The fact that the government may have

quantitatively made the same error more than once does not mean the error is not qualitatively

extraordinary and compelling. The government cites no caselaw to support its argument that

a defendant must demonstrate his circumstances are quantitatively “rare” to meet the

extraordinary and compelling standard. Diabetes, hypertension and other medical ailments

are not “rare,” but have all been extraordinary and compelling reasons for release.


               2.   Mr. Liscano’s compassionate release motion does not rest on a
               “change in the law.”

       The government’s response also presents a classic strawman fallacy: It manufactures

arguments that it believes Mr. Liscano to make and then spends much of its brief

responding to its own conjured up arguments. The government’s response states: “were

defendant sentenced today, under § 401 of the First Step Act, defendant would not be

subject to a statutory minimum sentence of life” but “changes in the law occur with some

frequency” and “do not fall within the ambit of § 3582(c)(1)(A)(i)’s required showing of

‘extraordinary and compelling reasons’ warranting consideration of a sentence reduction.”




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Gov’t Resp. at 11 and 13. 4

       Mr. Liscano has never argued that he is entitled to compassionate release solely or

even primarily because the First Step Act non-retroactively lowered Section 851’s mandatory

minimum drug penalties from life to 25 years. 5 That is an argument he need not make.

Mathis teaches that Mr. Liscano’s life sentence was illegal on the day the Court pronounced

sentence. Mr. Liscano’s principal argument – which the government readily concedes – is

that there was a trifecta of error from the outset of his case: (1) “neither of the prior
convictions relied upon by the sentencing court to support defendant’s life sentence qualify

as § 841(b) predicates”; (2) his 851 Notice “did not expressly state that the government

would seek a mandatory life sentence;” and (3) the government’s decision to seek a life

sentence was a “concession [ ] to obtain a guilty plea,” and the government only filed the

851 enhancement because Liscano exercised his Sixth Amendment trial rights. Those facts,

in their totality, are extraordinary and compelling.




4      Before the First Step Act (“1SA”) a third or subsequent conviction for a drug offender
charged under § 841(b)(1)(A) mandated the imposition of a minimum life sentence. See 21
U.S.C. § 841(b)(1)(A) (2003). Post-1SA, an enhanced sentence for a third or subsequent
conviction now mandates a minimum 25-year sentence (rather than life). See § 401, 132 Stat.
at 5221–22.
5        At the June 24, 2021, status hearing, Your Honor ordered counsel for the government
to address in its response brief the impact of the Seventh Circuit’s recent decision in United
States v. Black, 999 F.3d 1071 (7th Cir. 2021). The government failed to do so.

       In Black, the Seventh Circuit held a favorable, but nonretroactive statutory change in
law must be considered in the Court’s 3553(a) analysis when deciding a motion brought under
§ 3582(c)(1)(A). Though not an extraordinary and compelling reason for his release, see e.g.
Thacker, 2021 WL 2979530, the First Step Act’s favorable but nonretroactive change to the
851 penalty structure is a 3553(a) factor that the Court must consider when assessing Mr.
Liscano’s motion.

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                3.     The 3553(a) factors weigh in favor of a sentence reduction.

       Federal agents arrested Steve Liscano at the hospital while he was holding his newborn

daughter. She was just hours old. Last May, Mr. Liscano’s daughter graduated from high

school. He missed her graduation, just as he missed her prom, her first day of kindergarten

and her first birthday. We work within a system of numbers, case numbers, guideline ranges,

drug quantities and months’ imprisonment. For people serving a life sentence, the numbers

cannot capture the magnitude of life missed. Because Mr. Liscano has demonstrated

extraordinary and compelling reasons exist for his compassionate release, the Court next

looks to whether a sentence reduction under the circumstances is consistent with the

sentencing factors set forth in 18 U.S.C. § 3553(a). United States v. Dawson, 980 F.3d 1156,

1162 (7th Cir. 2020); United States v. Miller, 834 F.3d 737, 744 (7th Cir. 2016).

                       a. Steve Liscano’s history and characteristics

               “I received my tool pass from the Captain to walk freely to and from the units
               repairing dryers throughout the penitentiary.”

                                                                – Statement of Steve Liscano, Ex. B.

       Mr. Liscano does not dispute that he dropped out in the eighth grade, joined a gang

and sold drugs. It is not surprising that the government’s response starts with those bad facts.

But it misses the arc of the story. Even with no certainty that he would ever be released from

prison, Mr. Liscano has made remarkable strides over the years. His rehabilitative journey

started early. He began studying and obtained his GED while detained awaiting sentencing.

After he was sentenced to life in prison, Mr. Liscano signed up for the BOP’s vocational skills

program. He soon learned he has a knack for fixing things. In 2009, he completed a 350-hour

Construction Trades Program.

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       In 2016, Mr. Liscano took the exam to obtain a certification in refrigerant and

hazardous materials. He scored a 94% and earned certification. Mr. Liscano is proud to report

that, while serving a life sentence, he has “learned to build and demo homes with hands on

training.” and “completed over 50 courses in personal development.” 6 Throughout the

years, Mr. Liscano mailed a copy of his BOP certificates to his daughter along with a letter

encouraging her to study and get an education too. Copies of Mr. Liscano’s BOP certificates

and the letters to his daughter are attached as Exhibit B.

       Mr. Liscano currently works as an electrician apprentice at Pekin federal prison, a

highly selective position of trust. A recent BOP work evaluation describes Mr. Liscano as

follows:

              “As a Grade 1, which is the highest pay grade of facilities, Inmate Liscano has
              worked above his level of Grade 1. Liscano has saved the institution money on
              several occasions by fixing appliances instead of sending them to a contractor.
              Liscano regularly works on security lighting which is often a less desirable job by
              other inmates.”



6      See Exhibit C, Letter to Judge Durkin from Steve Liscano, dated January 2, 2021.

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        Mr. Liscano’s dream is to become a Master Electrician and Journeyman and to join the

union. Despite his life sentence, it is a dream he has worked toward for nearly 20 years.

According to Mr. Liscano, “[E]ven though I was sentenced to spend the rest of my life in

prison, I’ve never given up hope.”7

                        b. The need to avoid sentencing disparities

        This case is rife with unwarranted sentencing disparities. First, the government

conceded it did not file an 851 Enhancement against Mr. Liscano until he elected to proceed

to trial. A trial tax creates an unwarranted disparity because it tethers the ultimate penalty to a

defendant’s trial decision as opposed to the severity of the criminal conduct. The government

would be hard pressed to argue the penalties exacted in this case were based solely upon the

defendants’ criminal conduct. The conspiracy’s ringleader Juan Corral received an initial

sentence of 180 months, received a government-sponsored sentence reduction in 2012, and

was released nearly a decade ago in 2013. In Conley, this Court (Coleman J.) found the

government’s trial tax to “weigh heavily in favor of a sentence reduction.” In granting

compassionate release, the court concluded a defendant “should not be punished with a

grossly disproportionate sentence, which was the result of a ‘trial tax,’ just because he

maintained his innocence throughout the proceedings.” Conley, 2021 WL 825669 at *5.

        Second , it is also an unwarranted disparity that the government has taken a position in
this case directly contrary to its position in other districts. In United States v. Scott, 1:00-cr-



7       Mr. Liscano’s Unit Manager is Gary Brown. Unit Manager Brown has helped several
life-sentenced prisoners at Pekin prison maintain hope and rehabilitation. Mr. Brown’s efforts
have led to the successful reentry of a number of men who were once destined to die in
prison. Mr. Brown’s professionalism, compassion and mentorship deserve particular
memorialization in this court record.
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00069-MR-5 (W.D.N.C. March 22, 2021) ECF No. 213 at 5, the government conceded the

very point it opposes here. In response to defendant Scott’s compassionate release motion,

the government acknowledged:

              “This Court has the authority to find that extraordinary and compelling reasons
              are present for reducing a sentence where the sentence was based on laws that
              have been substantially revised in the intervening years, such that the prisoner is
              stuck serving far more time than he could possibly receive if he were to be
              resentenced today.”

The government’s response to Mr. Liscano’s motion fails to explain why a district court judge

sitting in the Western District of North Carolina “has the authority to find that extraordinary

and compelling reasons are present for reducing a sentence where the sentence was based on

laws that have been substantially revised in the intervening years” but Your Honor sitting in

the Northern District of Illinois does not have the authority to address a sentence that was

legislatively unauthorized from the outset. The government’s inconsistent and contradictory

positions is based purely on the coincidence of geography and, thus, create an unwarranted

sentencing disparity.

       Third , a federal drug offender today would face only a mandatory 25 years’

imprisonment for a lawfully imposed 851 Enhancement. The Seventh Circuit has held a district

court commits reversible error when it fails to consider a favorable statutory change in its

3553(a) analysis for compassionate release. See United States v. Black, 999 F.3d 1071 (7th Cir.

2021). The government perplexingly argues that Mr. Liscano should remain imprisoned for the

rest of his life based upon an 851 Enhancement that, by its own admission, was erroneously

imposed. Certainly, it is an unwarranted sentencing disparity that a properly applied 851

Enhancement today would mandate a 25-year minimum sentence while Mr. Liscano’s

unlawfully applied 851 Enhancement mandates a life sentence.
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                                       II.     CONCLUSION


          We find ourselves in an odd dystopian predicament when the U.S. Department of

Justice refuses to correct an erroneous life sentence because its mistake may not be “rare.”

But, alas, that is the crux of the government’s response in this case.

       Fortunately, the Court need only quote from the government’s own brief to find

extraordinary and compelling reasons that warrant a reduction: (1) “neither of the prior

convictions relied upon by the sentencing court to support defendant’s life sentence qualify as

§ 841(b) predicates”; (2) his 851 Notice “did not expressly state that the government would

seek a mandatory life sentence;” and (3) the government’s decision to seek a life sentence was

a “concession [ ] to obtain a guilty plea,” and the government only filed the 851 enhancement

because Liscano exercised his Sixth Amendment trial rights. Those facts, in their totality, are

extraordinary and compelling.

       Mr. Liscano has been imprisoned for approximately 19 years. This is the first time the

Court has had a meaningful opportunity to fashion a sentence that is sufficient but not

greater than necessary. With no certainty that the opportunity would arise, Mr. Liscano has

spent nearly two decades becoming a different man to present to the Court. The person Steve

Liscano has become is the most compelling apology for his drug offense and predictive

indication of what the Court can expect from him if he is released.




Respectfully submitted,
                                                    By:
                                                              MiAngel Cody, Esq.
                                                          Counsel for Steve Liscano


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                                                  THE DECARCERATION COLLECTIVE
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                             CERTIFICATE OF SERVICE


       The undersigned, MiAngel C. Cody, an attorney with the Federal Defender Program
hereby certifies that in accordance with FED.R.CIV.P5, LR5.5, and the General Order on
Electronic Case Filing (ECF), the following document(s):



        DEFENDANT STEVE LISCANO’S REPLY IN SUPPORT OF HIS
              MOTION FOR COMPASSIONATE RELEASE


was served pursuant to the district court’s ECF system as to ECF filings, if any, and
were sent by first-class mail/hand delivery on July 28, 2021, to counsel/parties
that are non-ECF filers.


                                                                       /s/ MiAngel Cody

                                                                          MIANGEL CODY

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                                                                        Counsel for Steve Liscano




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                   EXHIBIT B: BOP Certificates
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                    EXHIBIT C: Steve Liscano Letter to the Court
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